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                                                                                                                    OGLETREE, DEAKINS, NASH,
                                                                                                                    SMOAK & STEWART, P.C.
                                                                                                                    Attorneys at Law
                                                                                                                    1745 Broadway, 22nd Floor
                                                                                                                    New York, New York 10019
                                                                                                                    Telephone: 212.492.2500
                                                                                                                    Facsimile: 212.492.2501
                                                                                                                    www.ogletreedeakins.com

             Aaron Warshaw
             212.492.2509
             aaron.warshaw@ogletreedeakins.com

                                                                      November 29, 2018
             VIA ECF
             Honorable Jesse M. Furman, U.S.D.J.
             United States District Court for the Southern District of New York
             Daniel Patrick Moynihan United States Courthouse
             500 Pearl Street
             New York, NY 10007
                        RE: Ciera Washington v. Walgreens, et al.
                            17-cv-2393 (JMF)
             Dear Judge Furman:
                    As Your Honor is aware, we represent Defendants Walgreen Co., Duane Reade Inc.,
             Duane Reade International, LLC, Germaine Allen, and Vivian Ghobrial (collectively,
             “Defendants”) in the above-referenced case. We write notify the Court that the parties have
             reached a settlement in principle, and to respectfully request that Defendants’ pending summary
             judgment be held in abeyance. We anticipate that the parties will submit a Stipulation of
             Dismissal within the next thirty days.
                        Thank you for Your Honor’s continued attention to this matter.
                                                                                     Sincerely,
                                                                                     OGLETREE, DEAKINS, NASH,
                                                                                      SMOAK & STEWART, P.C.
                                                                                     By /s Aaron Warshaw
                                                                                          Aaron Warshaw
                                                                                          Shabri Sharma
             CC:        Laurie E. Morrison, Esq.

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